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                                               U.S. Department of Justice
   1.

                                               The Special Counsel’s Office

                                               Washington, D.C. 20530




                                               August 9, 2018
By Email

Kevin M. Downing, Esq.
Law Offices of Kevin Downing
601 New Jersey Avenue /Suite 620
Washington, D.C. 20001
(kevindowning@kdowninglaw.com)
(Counsel for Paul J. Manafort, Jr.)

        Re: United States v. Paul J. Manafort, Jr.,
            Crim. No. 17-201 (ABJ)

Dear Mr. Downing:

      Pursuant to the Court’s July 18, 2018 order, the Government is prepared to
return all original paper documents, relevant and irrelevant, as well as all original
physical devices, seized at your client’s condominium.

       The Government has attempted to coordinate a time and location to return
these items to the defense. After numerous unanswered emails and telephone calls,
the Government attempted to deliver the items at both the Law Offices of Kevin
Downing and Kostelanetz and Fink, LLP, on Wednesday August 8, 2018. Both of
these efforts were unsuccessful, as no one was present to accept the delivery.

      The Government has exhausted its resources in an effort to accommodate the
defense. Please know the Government has no further plans to deliver these items;
however, they are available for pick up at the Special Counsel’s Office.

      As previously agreed upon, should the defense pick up these items, it will not
argue at the trial, the absence of the original record.
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          Physical Devices Seized at Client’s Condominium



Attachment #      Device
1B47              Pack of 4 DVD discs, "Hyatt Regency Kyiv"
1B48              1 Black external hard drive "simpletech" logo. SN: unknown;
                     BOM No: 96200-41001-103
1B49              1 Blue external hard drive - "WD" logo SN: WXEX08L16461
1B59              512 MB Sandisk SD Card from Nikon Cool Pics FN-1
1B60              32GB Transcend SD card located in Go Pro Hero 2
1B61              1 8G Transcend SD card; 1 32GB SD card Nikon D-7000
1B62              1GB Sandisk card from Casio EXILIM camera
1B63              Black Sony stick 32GB located in a Sony camera
1B64              16GB San Disk SD Card from Nikon D-90
1B65              Micro SD 64G - found in Nikon I camera
1B66              16 GB Sandisk SD card from Nikon Cool Pics S-9700
1B67              1 16GB Sony memory stick pro located in Sony handicam
1B68              iPod, 64 GB, SN: CC0J326HDT78
1B69              32GB Transcend 32GB SD card located in Panasonic HCV700M
                  video camera
1B70              2 16MB Lexar compact flash cards; 1 Viking 128MB compact
                  flash card; 1 San Disk 4GB SD card; 1 San Disk 256MB memory
                  stick; 1 8MB Sony mega memory stick; 1G4 MB Sony memory
                  stick; 1 16GB Sony memory stick
1B71              2GB Polaroid SD card located in Casio camera
1B72              8GB Sony memory stick located in Sony cyber shot in black
                  pouch + black mesh bag
1B73              Lexar 1GB SD card located in Casio EX-Z1200, in black mesh
                  bag
1B74              4 GB memory stick, Sony, located in Sony cyber shot in black
                  Sony pouch
1B75              4GB San Disk SD card located in Canon power shot XS210 in
                  black camera bag
1B76              G Drive Slim, 500GB; SN: 39C5UMJS
1B77              RMK_MacBook_Air_Western Digital WD7500BPKX-00HPJT0
                  750GB hard drive, S/N WX41A9617H6L, containing memory
                  dump and image of a 500GB solid state drive from an Apple
                  MacBook Air model A1466, S/N C1MRN0B0H569
1B78              Western Digital external hard drive, SN: WX71A73D8297
1B81              iPad - 64GB SN: DLXFGN92DKNY
1B82              iomega hard drive; model 31905000; SN: G6AB360309

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Attachment #     Device
1B83             Mobile Mate SD+ memory card reader - San disk; Memorex 8GB
                 MegaTravel Drive, w/case - in Ziploc bag
1B84             iomega hard drive; model# 31847300 SN: W3BK514053, in black
                 case
1B85             (6) Six blue thumbdrives; (2) Two pink thumbdrives
1B86             HP Mobile USB Drive; Kit#D0549A, Drive Spare #348648-001
                 Cable Spare #348649-001
1B87             Seagate Go Flex hard drive S/N: NA052PLX
1B88             iPad - 64GB serial#: V50217R8ETV
1B89             iPhone in black and orange case IMEI: 355878060761889
1B90             Sony micro vault pro - 5GB SN: 1004279, located in blue case
1B91             DEWF_COMBO1: A 1TB HGST HDD, S/N: JR100X4M1SASVE
                 containing forensic images and device extractions from rooms: C,
                 F, K, and Q
1B96             iomega portable hard drive 1TB SN 6VAB3700GE
                                     Very truly yours,

                                    ROBERT S. MUELLER, III
                                    Special Counsel

                                    By: /s/
                                    ________________________
                                    Andrew Weissmann
                                    (202) 514-1746




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